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    15
                       IN THE UNITED STATES DISTRICT COURT
    16               FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                WESTERN DIVISION
    17                                       Case No. 2:21-cv-04405-RGK-MAR
         PAUL SNITKO, JENNIFER
    18   SNITKO, JOSEPH RUIZ, TYLER
         GOTHIER, JENI VERDON-               PLAINTIFFS’ REPLY TO
    19   PEARSONS, MICHAEL STORC,            DEFENDANTS’ RESPONSE TO
         and TRAVIS MAY,                     PLAINTIFFS’ APPLICATION FOR
    20                                       LEAVE TO FILE DOCUMENTS
                                 Plaintiffs, UNDER SEAL
    21            v.
    22
         UNITED STATES OF AMERICA,
    23   TRACY L. WILKISON, in her
         official capacity as Acting United
    24   States Attorney for the Central
         District of California, and KRISTI        Judge: Hon. R. Gary Klausner
    25   KOONS JOHNSON, in her official
         capacity as an Assistant Director of
    26   the Federal Bureau of Investigation,    Trial: August 23, 2022
                                                 Complaint Filed: May 27, 2021
    27                               Defendants. Amended Complaint Filed: June 9, 2021
    28

          PLAINTIFFS’ REPLY TO DEFENDANTS’ RESPONSE TO PLAINTIFFS’ APPLICATION FOR LEAVE TO
                                     FILE DOCUMENTS UNDER SEAL
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     1          The government does not dispute that Exhibits A and B should be filed under
     2   seal. ECF 116 at 2:3-4. And the government also does not dispute that Plaintiffs’
     3   brief should be filed on the public docket. Id. at 4:9-15. The parties are therefore in
     4   agreement as to how the Application should be resolved with respect to those
     5   filings.
     6          The parties part ways, however, when it comes to Exhibits L–O, which
     7   consist of transcripts from depositions that were taken by the Plaintiffs in June and
     8   July. As to these exhibits, Plaintiffs do not believe that sealed filing is warranted
     9   but were forced to file an Application because the government took the position that
    10   they were protected information under the Protective Order. Now, the government
    11   does not even attempt to justify its confidentiality designation and, instead, is trying
    12   to turn this Application into a referendum on whether portions of those exhibits
    13   should be filed at all. Ironically, moreover, the government is engaging in that
    14   exercise after itself failing to file an opening brief.1 The government’s position is
    15   procedurally improper and legally unfounded.
    16          1.    The Government Has Failed To Comply With Local Rule 79-5.2.2.
    17          The only issue presented by this Application is whether Plaintiffs’ filings
    18   should be filed under seal or, instead, on the public docket. If an application to file
    19   under seal is granted, then the documents are filed under seal; but, if such an
    20   application is denied, then the “Filing Party may file the document in the public
    21   case file.” L.R. 79-5.2.2(b)(ii). The government does not cite any authority for the
    22   proposition that a party, faced with an application to file under seal, can argue in its
    23   response for an entirely different option—that a document should not be filed at all.
    24   The government’s arguments stray beyond the scope of Local Rule 79-5.2.2.
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                  This Court’s orders directed the parties to file “Opening Briefs,” in the
    26
         plural. ECF 82 at 6; ECF 103 at 1. The most recent request for a continuance,
    27   drafted by the government, likewise recognized that the parties were required to file
         “opening briefs,” again in the plural. ECF 109 at 2:25.
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         PLAINTIFFS’ REPLY TO DEFENDANTS’ RESPONSE TO PLAINTIFFS’ APPLICATION FOR LEAVE TO FILE
                                       DOCUMENTS UNDER SEAL
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     1         When it comes to the actual relevant issues, the government’s response
     2   completely fails to comply with its obligations under Local Rule 79-5.2.2(b). That
     3   rule states that when a party applies for leave to file materials under seal because
     4   another party designated those materials “confidential,” the designating party “must
     5   file a declaration establishing that all or part of the designated material is sealable.”
     6   L.R. 79-5.2.2(b)(i) (emphasis added). Material is properly sealed only if the
     7   declaration establishes “compelling reasons why the strong presumption of public
     8   access in civil cases should be overcome.” Id. And if the designating party believes
     9   that “only part of the designated material is sealable, [it] must file with its
    10   declaration a copy of the relevant material with proposed redactions highlighted.”
    11   Id. (emphasis added). “Failure to file a declaration or other required document may
    12   be deemed sufficient grounds for denying the Application.” Id.
    13         The government did not comply with these obligations. Its response does not
    14   even try to argue that there is a “compelling reason” to seal any portion of these
    15   deposition transcripts, and its declaration likewise does not even attempt to
    16   establish any appropriate ground to seal any portion of the transcripts. Indeed, the
    17   government readily admits that much of what those officials said can and should be
    18   in the public record. See ECF 116 at 4:9-5:7. Nor does the government ever propose
    19   to redact any specific lines of testimony from those transcripts, let alone submit
    20   copies of transcripts “with proposed redactions highlighted.” Because the
    21   government has failed to even try to comply with Local Rule 79-5.2.2(b), the
    22   Application should be denied with respect to these exhibits and the exhibits should
    23   be publicly filed. The Court can dispose of this issue on that basis alone.
    24         To the extent that the government offers any justification for its failure to
    25   comply with its obligations, it seems to imply that it has not had enough time to
    26   review the transcripts for confidentiality. However, the government has had all the
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         PLAINTIFFS’ REPLY TO DEFENDANTS’ RESPONSE TO PLAINTIFFS’ APPLICATION FOR LEAVE TO FILE
                                       DOCUMENTS UNDER SEAL
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     1   time provided by the local rules.2 Local Rule 79-5.2.2(b) states that the filing party
     2   should seek to “confer” with the designating party “[a]t least 3 days before seeking
     3   to file under seal.” (emphasis added). Here, Plaintiffs emailed counsel for the
     4   government to start this process on July 12—seven days before the filing. See
     5   Frommer Decl. ¶ 3; Rodgers Decl. ¶ 2. Then, receiving no response, Plaintiffs
     6   followed up on July 14—five days in advance of the filing—and explained:
     7         For those deposition transcripts for which you have already provided ranges
     8         that you believe require redaction, we will redact those portions and file the
     9         remainder unredacted.… As to those depositions that have been taken
    10         subsequently (Versoza, Carlson, and the 30b6 depositions), the parties should
    11         confer about what lines, if any, similarly require redacting.
    12   Greenberg Decl. Ex. A at 4. The government’s attorney responded that same day,
    13   stating, “I STILL NEED TO MAKE THIS DETERMINATION” as to “WHAT
    14   PORTIONS OF THOSE DEPOSITIONS ARE CONFIDENTIAL.” Greenberg
    15   Decl. Ex. B at 8 (capital letters in original). Thus, contrary to the government’s
    16   suggestions in its filings, the government acknowledged it needed to “MAKE THIS
    17   DETERMINATION” at least two days in advance of the timeline contemplated by
    18         2
                  The government points out in a footnote that ordinarily it would have 30
    19   days to make this determination under the Protective Order, see ECF 116 at 3 n.3,
         but does not actually suggest that the Protective Order somehow overrides the
    20   deadline set by the local rules. To the contrary, the Protective Order directs parties
    21   in this situation to follow the procedure set out in the local rules. See ECF 92 at
         6:15-18, 12:13-14 (providing that deposition transcripts shall be treated as
    22   “Protected Material” within the 30-day review period and that a “Party that seeks to
    23   file under seal any Protected Material must comply with Local Civil Rule 79-5”).
                In any event, it is worth noting that the tight deadlines faced by the
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         government are entirely its own fault. As the government recently acknowledged
    25   when seeking an extension of the briefing deadline, the government still has not
         finished its document production in this case. See ECF 109 at 5:12-6:3. The delays
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         in the government’s document production forced Plaintiffs to schedule depositions
    27   late in discovery, which in turn shortened the time available for confidentiality
         review. Plaintiffs would have taken depositions earlier if the government had
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         produced documents in a timely way.         3
         PLAINTIFFS’ REPLY TO DEFENDANTS’ RESPONSE TO PLAINTIFFS’ APPLICATION FOR LEAVE TO FILE
                                       DOCUMENTS UNDER SEAL
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     1   the local rules. The government, however, never made its “DETERMINATION”
     2   and never agreed to further confer to limit the need for this Application.3
     3         Once the Application was filed, Local Rule 79-5.2.2(b)(i) gave the
     4   government an additional “4 days [from] the filing” to submit its declaration and
     5   proposed redactions. Given that the filing occurred on a Tuesday, the government
     6   could have taken until Monday to conduct its review. Instead, however, the
     7   government filed its response on Friday—before the Monday filing deadline. The
     8   government cannot possibly suggest that it had inadequate time to conduct the
     9   confidentiality review required by the local rules when it filed its response before
    10   the deadline. And, if the government could not meet the Monday deadline, then it
    11   could have sought an extension. The government did not ask for more time,
    12   presumably because insufficient time is not its real problem.
    13         2.     The Government’s Objections To Exhibits L–O Are Meritless.
    14         Rather than comply with its obligations to identify any portions of the
    15   deposition transcripts that should remain under seal, the government instead
    16   demands that Plaintiffs not be allowed to file portions of those transcripts at all. It
    17   throws together a hodgepodge of inapposite citations to argue that since litigants
    18   sometimes choose to only file deposition excerpts—including, apparently, the
    19   government itself, see ECF 116 at 4:1-3—Plaintiffs must do the same. The
    20   government suggests that Plaintiffs be limited to filing only those pages cited in
    21   their brief, without even providing any additional pages for context.
    22         This argument is in the nature of a motion to strike and, viewed in that light,
    23   runs into two significant problems. The first problem is that the government has not
    24   filed such a motion, meaning the issue is not properly presented. The second
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               3
                 The government complains that it could not possibly have reviewed the
    26
         transcripts because it had to depose the Plaintiffs during this same period. See ECF
    27   116 at 3 n.3. However, nothing forced the government to schedule its depositions
         during the week immediately before the filing deadline. Plaintiffs managed to
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         timely file their opening brief despite defending
                                                    4
                                                            those same depositions.
         PLAINTIFFS’ REPLY TO DEFENDANTS’ RESPONSE TO PLAINTIFFS’ APPLICATION FOR LEAVE TO FILE
                                       DOCUMENTS UNDER SEAL
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     1   problem faced by the government, moreover, is that “motions to strike are generally
     2   disfavored and should be filed sparingly.” E.E.O.C. v. Red Robin Gourmet Burgers,
     3   Inc., No. C04-1291JLR, 2005 WL 2090677, at *6 (W.D. Wash. Aug. 29, 2005).
     4   Plaintiffs have moved this Court for final relief, and it is Plaintiffs’ responsibility to
     5   determine what evidence to provide the Court in support. The government offers no
     6   basis to countermand Plaintiffs’ decision as to the relevance (indeed, importance) of
     7   the complete transcripts to the parties’ claims and defenses.
     8         The government is simply wrong to argue that the local rules require filing of
     9   excerpts, and, in fact, the local rules strongly suggest the opposite. The provision
    10   cited by the government, Local Rule 26-2, pertains to “a discovery request or
    11   response”—not transcripts. Closer at hand, Local Rule 32-1 expressly provides that
    12   the parties should submit full deposition transcripts for a “trial or an evidentiary
    13   hearing.” While Local Rule 32-1 sets forth procedures that by their terms apply to a
    14   live hearing, rather than a “trial on the briefs,” it nevertheless strongly suggests that
    15   the parties should submit the full transcripts at this stage.
    16         Moreover, courts have rejected similar arguments when made through
    17   motions to strike. See, e.g., Nigrelli v. Victoria Partners, No. 2:15-cv-1840-GMN-
    18   NJK, 2017 WL 1284762, at *4–5 (D. Nev. Mar. 30, 2017) (rejecting similar
    19   argument and stating that the “Court is capable of examining cited material in an
    20   entire transcript to the same extent as it would examine cited material in excerpted
    21   pages”); Mariner Energy, Inc. v. Devon Energy Prod. Co., 690 F. Supp. 2d 558,
    22   575 n.6 (S.D. Tex. 2010) (rejecting “object[ion] to [opposing party’s] inclusion in
    23   the record of full deposition transcripts rather than just excerpts”); Peel & Co. v.
    24   Rug Mkt., No. 98-cv-2376, 1999 WL 731415, at *1 (E.D. La. Sept. 17, 1999), rev’d
    25   on other grounds, 238 F.3d 391 (5th Cir. 2001) (rejecting similar argument and
    26   stating that the “Court sees no reason why the entire transcript need be struck”).
    27   These decisions rightly reject attempts—like the government’s here—to second-
    28   guess the form of another party’s filings.
                                                      5
         PLAINTIFFS’ REPLY TO DEFENDANTS’ RESPONSE TO PLAINTIFFS’ APPLICATION FOR LEAVE TO FILE
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     1          There are, in fact, good reasons for a litigant to choose to file the entire
     2   deposition transcript, rather than excerpts. Filing complete transcripts allows the
     3   reader to examine related questions and answers just before or after the excerpted
     4   testimony. In fact, in other cases, litigants have objected to the filing of deposition
     5   excerpts, including on the ground that they were incomplete, and in some cases
     6   courts have noted that litigants properly responded to such objections by filing the
     7   entire transcript.4
     8          Frequently in litigation, parties or the Court will later need to reference the
     9   discussion surrounding cited testimony, particularly as both witnesses and
    10   questioners refer back to earlier questions or responses. In their reply brief, for
    11   instance, Plaintiffs may want to point to a statement a deponent made three pages
    12   before testimony cited in the opening brief—perhaps to provide further support for
    13   an argument or respond to an argument the government makes in its opposition.
    14   Similarly, Plaintiffs may want to cite additional portions of these depositions when
    15   assembling their portion of the Joint Separate Statement of Undisputed and
    16   Disputed Facts, which is due (under the Court’s scheduling order) the same date as
    17   the opposition briefs. See ECF 82 at 6. Or, outside of the briefing, the Court itself
    18   may decide that it wishes to review additional portions of a deposition to obtain
    19   necessary context. The filing of a complete transcript makes that possible. By
    20   contrast, the government’s demand that only excerpts be filed would mean that
    21   portions of a transcript might be spread across multiple filings—or might never be
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                 See, e.g., Halmos v. Ins. Co. of N. Am., No. 08-cv-10084, 2011 WL
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         13134004, at *3 (S.D. Fla. Jan. 11, 2011); Prude v. Clarke, No. 14-cv-856, 2016
    25   WL 633366, at *2 (E.D. Wis. Feb. 17, 2016); Painter-Payne v. Vesta W. Bay, LLC,
         No. 2:12-cv-00912, 2014 WL 1599505, at *6 (S.D. Ohio Apr. 21, 2014); Alston v.
    26
         Prairie Farms Dairy, Inc., No. 4:16-cv-245-DMB-JMV, 2018 WL 1800867, at *5
    27   (N.D. Miss. Apr. 16, 2018); Williams v. City of Medford, No. 09-cv-3026-CL, 2011
         WL 5842768, at *3 (D. Or. Oct. 19, 2011).
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         PLAINTIFFS’ REPLY TO DEFENDANTS’ RESPONSE TO PLAINTIFFS’ APPLICATION FOR LEAVE TO FILE
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     1   filed at all—and would ensure that the parties’ and the Court’s ability to reference
     2   the record is more complicated than necessary.5
     3         Take, for example, the transcript of the 30(b)(6) deposition of Lynne
     4   Zellhart. Without divulging the details of the transcript, which remain under seal,
     5   Plaintiffs cited page 40 of the transcript (or, as the exhibits are numbered, page
     6   1239 of Exhibit M) for a discussion of the timeframe in which the government
     7   made certain decisions with respect to the property at USPV, but that cited
     8   exchange is the culmination of a discussion that begins at page 32 of the transcript.
     9   While the entire discussion was not cited in the opening brief, the entire discussion
    10   does provide additional context and may be of use to either party or to the Court.
    11   Or, to offer another example, Plaintiffs cited page 16 of the transcript (page 1215 of
    12   Exhibit M) for the discussion of the FBI’s operative policy documents. However,
    13   additional discussion of the FBI’s operative policies can be found at pages 13 and
    14   15, and, while Plaintiffs did not cite those passages, they provide additional context.
    15   Nothing would be gained by striking that context from the record.
    16         Further, all of these considerations are amplified in this proceeding, as the
    17   Court’s provision for “trial on the briefs” indicates there will be no opportunity to
    18   create a more fulsome record at a live trial. The Ninth Circuit has held that
    19   “normally” it will refrain from allowing parties to “supplement the record on appeal
    20   with material not considered by the trial court.” Daly-Murphy v. Winston, 820 F.2d
    21   1470, 1473 (9th Cir.), amended, 837 F.2d 348 (9th Cir. 1987). Thus, if this Court
    22   ruled on the merits of this case after being provided only excerpts of the deposition
    23   transcripts, Plaintiffs would then likely be unable to supplement the record with
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    25           For similar reasons, the government’s objection that Plaintiffs do not cite
         the Carlson deposition in their opening brief misses the mark. Between both the
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         reply brief and the separate statement of undisputed facts, Plaintiffs anticipate that
    27   the parties will cite all the deposition transcripts, and therefore Plaintiffs
         determined to place all the transcripts in the record.
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         PLAINTIFFS’ REPLY TO DEFENDANTS’ RESPONSE TO PLAINTIFFS’ APPLICATION FOR LEAVE TO FILE
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     1   complete transcripts for purposes of appeal. See ACLU v. Dixie Cnty., 828 F. Supp.
     2   2d 1307, 1308 (N.D. Fla. 2011) (holding that it would not supplement record with
     3   plaintiff’s full deposition transcript, as it lacked authority to do so given that it ruled
     4   for plaintiff based solely on deposition excerpts). As the Dixie County case shows,
     5   the failure to create a complete record can frustrate appellate review. See ACLU v.
     6   Dixie Cnty., 690 F.3d 1244, 1250 (11th Cir. 2012) (remanding to district court with
     7   instructions to conduct an evidentiary hearing because of ambiguities in available
     8   record testimony); id. at 1258 (Edmondson, J., concurring in part) (noting the
     9   majority’s decision was based in part on the fact that “the parties here did not file
    10   the whole deposition with the district court”). Given the Court’s indication that this
    11   case will not be set for live trial, it is incumbent on Plaintiffs to ensure that the
    12   paper record is as thorough and complete as possible.6
    13         Finally, it is difficult to see how the government would be prejudiced by
    14   filing these complete deposition transcripts. If the government truly believes that
    15   there is anything confidential in the transcripts, it could seek to justify a sealed
    16   filing or—at a minimum—could submit some evidence that some portion of the
    17   transcripts ought to be filed under seal. But it has not done so. Beyond that, these
    18   are the government’s witnesses, and the filing of complete transcripts would serve
    19   only to ensure that those witnesses’ statements are not taken out of context or
    20   otherwise misunderstood. Particularly given the serious constitutional violations
    21   alleged in this case, the government’s witnesses ought to be heard in full, and,
    22   again, that end is best accomplished by filing the full deposition transcripts.
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                 Complete transcripts will also help the Court avoid the need for live
    27   testimony; having access to the best and most complete information available will
         aid the Court in deciding whether there are any disputed issues of material fact. See
    28
         Pls.’ Opening Br. 13:8-15 (ECF 112). 8
         PLAINTIFFS’ REPLY TO DEFENDANTS’ RESPONSE TO PLAINTIFFS’ APPLICATION FOR LEAVE TO FILE
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  1                                     CONCLUSION
  2         Because the government has failed to provide “compelling reasons” to justify
  3   the sealed filing of any of the relevant documents, this Court should grant relief on
  4   the Application by permitting only Exhibits A and B to be filed under seal.
  5   Dated: July 26, 2022                      Respectfully Submitted,
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      PLAINTIFFS’ REPLY TO DEFENDANTS’ RESPONSE TO PLAINTIFFS’ APPLICATION FOR LEAVE TO FILE
                                    DOCUMENTS UNDER SEAL
